Case 2:12-cV-02756-.]TF-de Document 1-3 Filed 09/04/12 Page 1 of 19 Page|D 15

mm_.iomn_ U<
Z>C OOE._»~.< _:m:~m_._om OO_.:_um:z

z>C.<S-z>C 00¢3_.< _:m:<m:om Oo:._nm:<
UO mOX mm@ _
m>C O_.>_Im. <<_ magmlomm@

63 mwmmm-m\m mm

Uo=n< _mmE:m Oo_,:um:<

z>C Ooc:q< _:wc~m:om OoBum:<
33 mc:éooa Ul<m
mm,§mm<. _<_z mmwom

>mm:n< _:..ow_:mmo:

>O_LPZU _ZmCD>ZOm mmm<_Ommw _u_.O/\U m._.mVImz
._mmw I<<< \_¢\.m mwmw I<<< gm <<

muij O>§_uq wsm wm®mm D=u_.m< .M.Z wmomm

U_mmmm R..,ma <oc~ gov _:m:qm:om Uo=o< om_,w€__<@

 

z>c no_.=._:.< _:w_.=.m:nm no§uw:<

jim Uo=o< wm mw@:ma U< gm _u_‘mm&m:.n
msa Jm mmo:w$~< 0¢ gm OGva:<.

_<=un_ _u_.o<mmmo=m
9mm Umm_. me&m:.h

 

Oo:m Lm_.e<m<. mmoqmdm_<

§

EXHIBIT 1

Case 2:12-cV-0275_6-.]TF-de Document 1-3 Filed 09/04/12 Page 2 01 19 Page|D 16

li!I Hi'¢ l'"lTli'Fl'.i'llf?"l'~'r§'l.N'i"§L'l*iLH'h'B[||| . Mmems@na,mnw,wm Fax‘.,;?mmm /[\

 

 

 

 

 

 

 

 

 

 

 

Country insurance Company 1
7333 SLrnwood Drive - Rarnsey. MN 55303 1 (888) 313-6723 Created: 03115.'2011
insured Crop Year: 2011 AgencylAgentln!ormation _ _ _
stare Agency Code 23_0750 Po|lcy Conflrmation
Ste hen F|o d 47-Tennessee Agem Name; Randy Wa[ker Mu|tiple Peril Crop insurance
P V CO'-lnf¥ Ag|and Insurance Services F’O||Cy #= TN~942'503?425'11
51_169 Hwy 19 W osr-Lauderdale 1533 Hwy 173
R‘P'SY\ TN 33053 Poxts camp, Ms 38659 Stephen F!°yd
""l‘§$<' _ j V\Hsconsin Branch Office
S lndlvlduai ' 200 Riverfront Terrace Suite 400
(r:>g;r;\; Eau C|aire. Wl 54703
"T'é'i<"i&; """""""""""""""""""""""""""""""""""" F.’ hO"SFaX ................................ Phone: (877)942-3155
(662)333-7747 (662)333-4020 Fax; (715)552_5344
Cont§m
F'! 731 635-02‘[0
( ) NONE csR KELL:FSoN

 

 

 

 

AlE persons with a substantial benehcia| interest in you as defined in the applicab!e policy provisions (U|' indicates landiords ur tenants insured under the

a licani
pp ) Name Identi|ication Number Person Type Address Telephone

 

1) (None) :
Confirmation of Multipie Peri| Crop insurance

 

 

 

 

 

 

 

 

 

 

 

Coverage LeYeH
Ef:le§;>ve D£;:;gd P|an of §;:§§grt\ofpnce
Year Ad<sadc\y _ Crop(s)lnsurednype(Praclice,Variety) fnsurance Levai.%i=rioe Opiions Siatus
.2011 097-N CORN YP 50%!55%(CAT) YA Accepied-Renev.'a|
2011 097-sicch '\'r"b'"" so%rss%{cAT) YA `X'ccepiad-New """""""
_ . e"'""'i;';‘i;;;iii;zz'd'eee» eeee ..............

 

 

 

Mu|tiple Peril Crop |nsurance Policy Provisions

2011 Basic Provisiuns Lefter; CAT Endorsement; 11 Basfc Provisions; CEPP Ge'neral 1nforma1ion; CEPP Corn; CEPP <_Z.‘otion; CEPP Soybeans; Cotton'
Crop Provision; Course Grain Crop Pro\risions

 

 

 

 

MP-Ex12~PcoN(12-2o10) END; calm/2011 Sfephen Floyd Crop Year: 2011 Page 1 of 1s

 

Case 2:12-cV-O2756-.]TF-de Document 1-3 Filed 09/04/12 Page 3 01 19

 
 

Year: 2011
Date: 1.1/5!2010

   

Saies Closing Date

311 5!2011

Type
No Type Specii’ied 997

No Type Specified 997
No Type Specihed 997
No Type Specitied 997
No Type Specitied 997
No Type Specitied 997
Sales Ciosing Date

3/15/2011

Type
No Type Specified 997

No Type Specitied 997
No Type Specitied 997
No Type Specined 997
No Type Specined 997
No Type Specined 997

Connmodlty: Soybeans (0081

Plan; Yield Protection (01)
Revenue Proteotlon (02)
Revenue Prot with Harvest Price Exc|usion (03)

:t-*`l'

Ear|iest Planting Date

4!16/201‘1

Eariiest Pianting Date
4/16/2011

Page|D 17

   

State: Tennessee (47)
County: Lauderdale (097)

   

  

Finai Pianting Date
6/25/2011

Practice
Fac (Non-|rrigated) 043 *3 *6

Fac (|rrlgated) 095 *3 *6
Fac (Non-lrrigated)(OC) 725 *3 *5 *6 *7
Fac (Non-lrrigated)(OT) 726 *3 *5 *6
Fac (|rrigated)(OC) 741 *3 *5 *6 *7

Fac (lrrigated)(OT) 742 *3 *5 *6

Fina| P|anting Date

611 51201 1
Practice
Nfac (Non-lrrigated) 053 *4

Nfac (lrrigated) 094 *4

Nfac (Non-lrrigated)(OC) 727 *4 *5 *7
Nfac (Non-lrrigated)(OT) 728 *4 *5
Nfac (|rrigated)(OC) 739 *4 *5 *7
Nfac (lrrigated)(OT) 740 *4 *5

Acreage Reporting Date Premium Biliing Date

7/15/2011 1011/2011

Acreage Reporting Date Premium Bi|ling Date
7/15/2011 10!1!2011

 

General
Optional unit division is NOT avaiiab|e by section or section equivalent Optional unit division is availabie based on

Farm Serial Number (FSN)

and any other method specified in the Basic Provisions or Crop Provisions except

section or section equivalent To be eligible for the available methods of optional unit division, you must meet all
applicable requirements

Contaot your agent regarding possible premium discountsl options, andior additional coverage that may be

available

Practice

*3 FAC - Foilowing another crop that has reached the headed or budded stage (regardless of the percentage of plants
that reached the headed or budded stage) and/or that has-been harvested in the same calendar year.

*4 NFAC - Not following another crop that has reached the headed or budded stage (regardless of the percentage of
plants that reached the headed or budded stage) and/or that has been harvested in the same calendar year.

*S Acreage and production history from certified organic or transitional acreage will be contained in separate APl-i
databases. Each APl-i database will include production and acreage from any applicable buffer zone. Any yearly
average APl-i yields, for the most recent four crop years only, from the transitional acreage database will be used in
place oi Transitional Yie|ds (T-yields) to establish the certified organic APH database. A variable T-yield will be used
to complete the database, if required

Date

*6 ln lieu of the definition of late planting period in section 1 of the Basic Provisions, the late planting period begins the
day alter the final planting date for the insured crop and ends 20 days after the final planting date.

 

Case 2:12-cV-O2756-.]TF-de Document 1-3 Flled 09/04/12 Page 4 01 19 PagelD 18

     

Y€arl 2011 Commodity: Soybeans (0081) n j l Stae. Tenne`ssee 47)

Date: 1115/2010 P|an: Yield Protectlon (01) County: Lauderdale (097)
Revenue Protection (02) '
Revenue Prot with Harvest Prlce Exclusion (03)

Pdce

*7 For acreage insured as codified organic, the Projected Prlce and Harvest Prlce will equal the respective Projected

Prioe and Harvest Price as defined within the Cornmodity Exchange Prlce Provisions (CEPP) multiplied by a factor
determined by RMA and published on www.rma.usda.gov. '

Premium

Any acreage in this county with a high risk area designation on the actuarial map will have a rate adjusted in
accordance with the high risk area and map area rates table. `

Qu_a|ity
GENERAL STATEMENTS:

The following sections only apply'to grain production for the insured crop.

The Quality Adjustment Factor (QAF) is 1000 minus the sum of the applicable Discount Factors (DF) expressed below as
three-place decimals_ The sum of all applicable DFs will be limited lto 1.000. On|y the quality adjustment factors
contained herein are considered in determining production to count The production to count remaining after any
reduction due to excessive moisture (in accordance with the applicable Crop Provisions), is multiplied by the QAF (not
less than zero) to determine net production to count.

Production qualifying for quality adjustment that does not contain substances or conditions that are injurious to human or
animal health, shall be adjusted under section A or B, but not both.

Unless the AlP grants an extension of time to harvest as speciHed below, the samples of production used to determine
insurable quality deficiencies under sections A, B and 0 must be obtained in accordance with this Quailty Adjustment
Statement, but not later than 60 days after the calendar date for the end of the insurance period (EO|P).

For any production qualifying under section B or 0 (except for section 03) that is sold**** to other than a disinterested
third party**l or that is not sold 60 days after the calendar date for the EO|P, we will settle your claim using the applicable
DFs. lf the production is later soldl we will not recalculate or adjust your claim for indemnity

For production qualifying under section B or 0 (except for production qualifying under section 03) that is unsold 60 days
after the calendar date for the EOlP, an automatic 30 day extension will be atlowed only for the purpose of submitting your
claim for indemnity1 unless an extension of time to harvest has been granted under the general statements below.

The DF for production qualifying for quality adjustment containing substances or conditions that are injurious to human or
animal health will be determined in accordance with section 0. For production qualifying for quality adjustment under:

a Section 01 or 02 and section A belowl the DF will be determined by adding the applicable DFs from section A to the
applicable DFs from section 01 or 02.

b Section 01 or 02 and section B below, the DF will be determined by adding the applicable DFs from section B to the
applicable DFs from section 01 or 02.

c Section 03, the DF will be determined under section 03 on|y. No additional DFs from section A or section B will be
lncluded.

1 OPT|ON TO DELAY CLA§M SE`l-lLEMENTZ

a On the date of final inspection for the unit, if any of your unsold***** production qualities for quality adjustment
under sections B and/or 0 1 or 2 below, your claim will be settled using the applicable DF’s for unsold production
unless you elect in writing to delay settlement of your claim for up to 60 days after the calendar date for the EOlP.

b lf you sell the production to a disinterested third party during this delay, your claim'wi|l`be settled using the
Reductlon ln Value (RlV) as outlined belowl unless the production qualifies under section 0 (except for production
containing Vomitoxin only} and has been in on~farm storage

2

 

Case 2:12-cV-O2756-.]TF-de Document 1-3 Flled 09/04/12 Page 5 01 19 PagelD 19

  

Year: 2011 commodity soybeans (0081) 7 state Tennessee t47)

Date: 1115/2010 Pian: Yield Protectlon (01) County: lauderdale (097)
- Revenue Protectlon (02)
Revenue Prot with Harvest Prlce Exclusion (03)

c At any time during this delay in settlement you may request in writing to settle your claim for any unsold
production using the applicable DFs.

d For any production sold**** to other than a disinterested third party**, or that is not sold 60 days after the calendar
date for the EO|PI we will settle your claim using the applicable DFs.

e if the production is later soid, we will not recalculate or adjust your claim for indemnity

f lf the time to harvest has been extended as stated beiow, this option will not apply beyond 60 days after the
calendar date for the EOlP.

g This option will not apply to any production qualifying under section 0 3.

2 ADD[T|ONAL EXTENS[ON OF TlNlE TO SUBMlT /~\ CLA|M

Regardless of any extension of time to submit a claim provided in this quality adjustment SPOl statementl you also have
the right to request an additional extension of time to submit a claim for indemnity in accordance with section 14 of the
Basic Provlsions.‘ 7 '

3 _ EXTENS|ON OF TllVlE TO HAR\/EST

lfwe determine you are prevented from harvesting by the calendar date for the EO|P due to an insurable cause of
damage that occurred during the insurance period and we allow an extension of time to harvest, the time to determine
insurable quality deficiencies will also be extended lf you harvest the crop prior to 60 days after the calendar date for the
EOlP, your claim will be settled in accordance with sections A, B, or 0 as applicable unless you elected to delay
settlement of your claim1 in which case, refer to 1 above |f you were unable to harvest your crop until AFTER 60 days
after the calendar date for the lEOlF’1 and your production qualities for quality adjustment under sections B‘l, 01a or C2ai,
you will be allowed 30 days after harvest to market your grain and receive an RlV unless the production qualifies solely
under section A, in which case, only the DF(s) in section A will be used. If the production is not sold within this 30 clay
period, the claim will be settled using the applicable pre-established DF. You must complete and submit a claim for `
indemnity not later than the earlier of 60 days after harvest, or 60 days after the date we determine the crop could have
been harvested and you did not harvest lt your production qualifies under section 03, your claim will be settled as
specified in section 03.

4 DELAY |N MEASUREMENT OF FARN| STORED PRODUCT|ON

lf you elect to delay measurement of farm stored production as provided in the Basic Provislons, all samples of farm
stored production used to determine insurable quality deficiencies must be obtained in accordance with this Qua|ity
Adjustment Stalementl but not later than 60 days after the calendar date for the EOlP , otherwise such production will not
be adjusted for quality, All samples obtained to test for substances or conditions injurious to human or animal health
(other than vomitoxin) must be taken prior to production entering storage. For Vornitoxin only, samples for testing may be
obtained from storage Your claim will be settled using the applicable DFs for the quality deficiencies determined by us
not later than 60 days alter the calendar date for the EOlP. The gross amount of production will be determined by us not
later than 180 days after the EOlP. Your claim will be completed and submitted no later than 30 days after the 160th day_

5 FA|R CONSIDERATlON TO DELIVER TO DISTANT MARKETS

Except as allowed in paragraph 7 6 b belowl fair consideration to deliver sold production to a distant market is allowed
only when there are no buyers in your local market area willing to purchase the production and is only applicable for the
types and levels of damage included in sections B1, 01a, 02ai, 03ai and 03bi below. The amount of fair consideration
allowed will only be an amount that is reasonab|e, usua|, and customary Fair consideration is not allowed for production
that is unsold, sold to other than a disinterested third partyl fed, utilized in any other mannerl or when a pre-established
DF is applicable

6 ZERO MARKET VALUE

lf on the date of final inspection for the unitl any production which due to insurable causes is determined to have zero
market value*‘"'l such production will not be considered production to count if the production is destroyed in a manner
acceptable to us (see section D). Fair consideration may be used in the determination of zero market value, except for
production fed or used in any other manner. '

3

 

Case 2:12-cV-O2756-.]TF-'de Document 1-3 Flled 09/04/12 Page 6 01 19 PagelD 20

     

      

_ 20 _ _ . . .
Year; 2011 Commodity: Soybeans (0081) - State: Tennessee (47)
Date: 1115/2010 Plan: Yield Protectlon (01) County: Lauderdale (097)

Revenue Protection (02)
Revenue Prot with l~|arvest Price Exclusion (03}

7 REDUCTEON |N VALUE (RiV):

No RlV will be made or accepted by us if it is due to:

Nlolsture content;

Damage due to uninsured causes;
Drying;

l-landllng;

Processing; or

G'>G'l-W~C)JI\J-~

Any other costs associated with normal harvesting, handling, and marketing of your production
a Rl\/s cannot be used in combination with chart DFs. '

b lf a lower Rl\/ is available for production sold at a distant market, the RlV at the distant market may be
increased by the.fair consideration to deliver the production to the distant marketl provided the resulting R|V
does not exceed the RlV in your local marketing area.

o if the RlV can be decreased by conditioning the production, the RlV may be increased by the cost of
conditioning provided such cost is reasonable, usual, and customary and the resulting R|V does,not exceed
the Rl\/ before conditioning ,

d The RlV and local market price* are determined on the date such quality adjusted production is sold to a
disinterested third party.

SECT|ON A - DlSCOUN`_T FACTOR CHARTS

On the date of final inspection for the unlt, the discount factors are determined using the following charts if the DF for any
one qualifying level of deficiency is not shown on the charts in this section, then determine all DFs using section B or 0 as
applicable '

GRADE DlSCOUNT: -
Discounts for grade as iollows:

 

§Lesi__________i_??_i=______
U»S~ Saml>l€ _C_iisd€_ __0:930_.

TEST WEIGHT DlSCOUNT:
Discounts for low test weight as follows:

Toéi`ii\r`otg`htsounds 'DF

 

 

 

 

 

standards _Nsns_‘___ __ _
isaacs odor g
47-4?.99 _` 70.009"

'46-43‘."9'9 w___ ` o_oii

B~Eis_,s_s __ )_ noia

4_4-44.99" 0.015 _
Below 44 .S`ee section B

 

DAMAGE DlSCOUNT:
Discounts for excessive kernel damage (excluding heat damage) as follows:

 

 

Case 2:12-cV-02756-.]TF-de Document 1-3 Flled 09/04/12 Page 7 01 19 PagelD 21

 

 

Y€E\f! 2011_ Commodity: Soybeans (0081} f State: Tennessee (47)
Date: 1115/2010 Plan; Yield Protectlon {01) County: Lauderdale (097)

Revenue Protectlon (02)
-Revenue Prot with Harvest Price Exclusion (03)

 

 

 

 

 

 

 

 

Damage % DF j D'arnage %' ` 'D'F" ' """l§amage"% DF
vcasinobelow 1 Nooo _ 7 v__1?§_,{')_1_;_1_e_,_w'_ g 0.115 w 27.01-28 0_194 “7
______98_._0_1_,_-_$§___M_________p_.i_)_¢i_¢i_______ iam-19 "'0.'1§3"" 23.`01-29` 0.202

09.01-10 __ jj _o.c_i_si_'_‘r`r' _is,oi:ao oral , 29.01-30 ""'t')".z"io"`
____19_~91;1_1_`____9-9§$_.__________?9;_91~21___ 91139' ' 30-01~31 ' 0.218

_"iji.p_j-iz o_osr _21.01-22 § 0_147 """"`31.01-32 "“ 0.226

12.01_13 _ 0.075 __z_2__._i;i_ji_-_jz_§nn 0.154 32.01_33 0.234 "
1391-14 0.083_ 23.01-24 ""777)3'§§""' """§§_'gj;§,',j"“‘~"""r@_‘§'j§' ~ '---
______ 1401-15 0.091 - 24.01-2_§ ' 0.170 34.01-35 0.250 '

._l§-_Q_l:_i_ii____________9-_0_?’_?______.__2§_-_0_1_:§§___ _ __0~178 Ab@\i€ 35 339 SeCilO"B

loci-17 0.107 ` 26_61-27 dies ' `

SAMPLE GRADE DlSCOUNTS: _
» Discounts for sample grade'facto'rs as follows:

________c.WJ`

SECT[ON B - DEFIC|ENCY NOT |l\l D|SCOUNT FACTOR CHARTS

DFs included in section A are not used if production meets requirements under this section. For production that has a test
weight below 44 pounds per bushell andior kernel damage above 35 percent, on the date of hnal inspection adjust
production in the following manner:

1 |f sold to a disinterested third party prior to 60 days after the calendar date for the EO|P, the DF will be the sum of all
Rle applied by the buyer (provlded the Rle are reasonable usual, and customary) due to all insurable quality
dehciencies, and that value divided by the local market price Production receiving an RlV for sprout damage will not
also receive an RlV for falling numbers

2 For unsold production or production sold to other than a disinterested third party prior to 60 days after the calendar
date for the EOlP, the DF will be .500 (unless you elect to delay settlement as specified in the Genera| Statements

above).

3 if unsold 60 days after the calendar date for the EO!P, fed, utilized in any other manner or is sold to other than a
disinterested third party the Dl-` will be .500.

SECT|ON C - SUBSTANCES OR COND\T!ONS THAT ARE lNJURl_Ol.lS TO HUMAN OR ANlMAL H_EALTH

The sum of all DFs for production containing substances or conditions that are injurious to human or animal health is
allowed, in addition to applicable DFs from section A or B above, except as shown in 03 below.

Any potential loss due to substances or conditions identified by the Food and Drug Admlnistration, other public health
organizations of the t,lnited States, or a public health agency of the applicable State in which the insured crop is grown, at
a level determined as injurious to human or animal health, will be covered only if the appropriate samples of the
production were obtained by our adjuster (or a trained disinterested third party approved by us), and the analysis was
performed by an approved laboratory using quantitative tests.

For production that contains substances or conditions determined to be injurious to human or animal health, adjustments
will be made for levels of substances or conditions in excess of the amount allowed by the lower of the following:

a The action or advisory level of the Food and Drug Admlnlstration; or
b Another public health organization of the United States; or
c A public health agency of the applicable State in which the insured crop is grown.

5

 

Case 2:12-cV-O2756-.]TF-de Document 1-3 Filed 09/04/12 Page 8 of 19 Page|D 22

 

Year: 2011 Commodity: Soybeans (0081) g State: Tennessee (47)

Date: 1115/2010 7 Plan: \'ield Protection (0'|) County: Lauderdale (09?)
Revenue Protection (02)
Revenue Prot with Harvest Price Exc|usion (03)

For production that will be stored on the farm, or in commercial storage (except for production containing Vomitoxin), the
appropriate samples must be obtained prior to the production entering storagel otherwise such production will not be
a:ijusted for such quality dehciencies listed in section 0, For Vomitoxin only, samples for testing may be obtained from
s orage.

1 For production containing Vomitoxln only (no Other section C deficiencies are present) qualifying under section C and
that has a level ct 10.0 ppm or lessl adjust the production in the following manner. if on the date of final adjustment
for the unit, the production ls:

a Sold to a disinterested third party prior to 60 days alter the calendar date for the EOIP, the DF will be the sum of
all R.iVs applied by the buyer (provided the Rle are reasonable, usual1 and customary) due to all insurable
quality deficiencies and that value divided by the local market price. '

b For unsold production or production sold to other than a disinterested third party prior to 60 days after the
calendar date for the EOIP, the DF will be the applicable DFs shown in the chart below (unless you elect to delay
sittlement as specified in the General Statements above) added to the applicable DFs included in section A or B2
a ove.

c Unsold 60 days after the calendar date for the EOlP, fed, utilized in any other manner. or is sold to other than a
disinterested third party, the DF Wlll be the applicable DFs shown in the chart below added to the applicable DFs
included in section A or B3 above. -

 

 

DFs for Vomitoxin:
'Vonii&iitin'§ang`e ' " `DF_""""` ___
_____ _ 01`159§9_"] _ u___ ..'.QOO.- _________:_
__ 5.1 - 10.0 ppm _ .450 '
10.1 ppm & above v See 03 below

 

2 For production containing substances or conditions, other than Von‘iitoxin, that qualifies under section 0 with an
Aflatoxin level of 300 ppb or less, or other substances or conditions with a level less than the maximum allowable
adjust the production in the following manner. ' '

a lt on or before the date of final adjustment for the unitl the production was transported directly from the field to the
buyer, or transported directly from the field and put into commercial storage without going into on farm storage,
the DF will bet .

i For production sold to a disinterested third party prior to 60 days after the calendar date for the EOIP, the sum
of all Rl\/s appiied by the buyer (provided the R|Vs are reasonable, usual, and customary) due to all insurable
quality danciencies, and that value divided by the local market price.

ii For unsold production containing Atlatoxin prior to 60 days after the calendar date for the EOlP, the applicable
DFs shown in the chart below in section C2b (unless you elect to delay settlement as specified in the General
Statements above), added to the applicable DFs included in section A or B2 above

iii For unsold production containing Atlatoxin 60 days after the calendar date for the EOlP, the applicable DFs
shown in the chart below in section C2b, added to the applicable DFs included in section A or B3 above.

iv For unsold production containing all other mycotoxlns or substances or conditions prior to 60 days after the
catendar date for the EOlP (untess you elect to delay settlement as specified in the General Statements
above), the DFs will be .500, except as stated in section 03 below. This DF witt be added to the applicable
DFs included in section A or B2 above.

v For unsold production containing all other mycotoxins or substances or conditions 60 days after the calendar
date for the EO|P, the DFs will be .500, except as stated in section 03 below. This DF will be added to the

applicable DFs included in section A'or 53 above

b lf on the date of hnal adjustment for the unit, the unsold production is in on-farm storage, is in commercial storage
but was not transported directly from the fieid, wasted or utilized in any other manner. was in on-farm storage and '
has been sold, or was sold to other than a disinterested third party, we wilt use the applicable DFs shownin the

6

 

 
   

Case 2:12-cV-O2756-.]TF-de Document 1-3 Filed 09/04/12 Page 9 of 19 Page|D 23

commodiiy; soybeans (ocsi) ` - siaie: Tennessee (47)

 

 

 

Year: 2011
Date: 11/5/2010 P|an: Yield Protection (01) County: Lauderdale (097)
Revenue Protection (02)
Revenue Prot with l-|arvest Price Exclusion (03) 7
chart below, except as stated in section 03 below This chart DF will be added to the applicable DFs included in
section A or 32 above
DFs for Af|atoxin:
Aiiaioxiii`r§§ingé oi='
..O_'_i__i 2010 Pl`»‘.l?_ _ ._ _._.-0.00_
_ 20.1~50.0 ppi:> ' .100`
_ _ _.59-_1_ ~ 100-filin , _ _____...;ZQ_O_ v'
100.1- 200.0 pps ` .soo"
?09;3.:_39_9_19_ER_*?__ _, _ __ _. _ _ _-_40_9_ _
300.1 ppb & above See 03 below
3 ' For production that has an Aflatoxin level'in excess of 300 ppb, a Vomitoxin level in excess of 10 ppm, or any other

substances or conditions qualifying under section C having a level'exceeding the maximum amount allowedl a claim
will not be completed until all such production is sold, fed, utilized in any other mannerl or destroyed An automatic 30
day extension will be allowed for you to submit your claim for indemnity, following the date we determine the
production was sold, fed, utilized iri any other manner, or destroyed On the date of final adjustment for the unit, the
following will apply (if such production is Zero Nlarket Value, see section D):

a For production'containing Vornitoxin only (no other section 0 deficiencies are present), the DF will be:

i The RlV applied by the buyer (provided the R|Vs are reasonable usual, and customary) due to all insurable '
quality deficiencies and that value divided by the local market price for production sold to a disinterested
third party; or

ii .500 for production, fed, utilized in any other mannerl or sold to other than a disinterested third party. l\io
other DF from section A or B will be included

b For production containing Aflatoxin or any other substances or conditions (except for production containing
Vornitoxin as detailed in section 03a above), the DF will be;

i The Rl\/ applied by the buyer (provided the Rle are reasonabie, usuall and customary) due to ali insurable
quality deficiencies and that value divided by the local market price for production sold to a disinterested third
party. Such production must have been transported directly from the held to the buyer, or transported directly
from the field and put into commercial storage prior to being sold

ii .500 for production that was in on-farm storage and was later sold, was in on-farm storage and was
transported to commercial storage and later soid, was fed, was utilized in any other manner, or was sold to
other than a disinterested third party. No other DF from section A or B will be included

c if production qualifying under section 03 is destroyed in a manner acceptable to usl the DF will be 1.000. For
production destroyed in a manner unacceptable to us, such production will not be adjusted for any quality
deficiencies listed in section 0.

SECTiON D - ZERO MARKET VAi.UE PRODUCT|ON

For production listed in sections A, B, or 0 that we determine has zero market value due to insured quality deficiencies:

l
2

The DF will be 1.000 if such production is destroyed in a manner acceptable to us.

lf you do not destroy (or refuse to destroy) production in a manner acceptable to us, such production to count is no
longer considered to be zero market value and will be adjusted as follows:

a For production in section A- the pre-established DFs.
b For production in section 13 ~ .500.

c l-‘or production in section 01 or 02, such production will not be adjusted for any quality deficiencies listed in
section 0.

 

Case 2:12-cV-O2756-.]TF-de Document 1-3 Filed 09/04/12 Page 10 of 19 Page|D 24

  

 
        

\(ear; 2011 Cornmodity: Soybeans (0081) State: Tennessee (47)
Date: 11/5/2010 P|an: Yie|d Proteclion (01) County: Lauderdale (097)

Revenue Protection (02)
Revenue Prot with Harvest Pric`e Exclusion (03)

3 lt you destroy production qualifying under section 03 in a manner unacceptable to us, such production will not be
adjusted for any quality deficiencies listed in section 0. lf you do not destroy (or refuse to destroy) such productionl a
claim will not be completed until such production is sold, fed, utilized in any other manner, or destroyed An automatic
extension of time will be allowed for you to submit your claim for indemnity.

* “l_ocal l'vlarket Price" as defined in the applicable Basic, Crop, or these Provisions.

** “Disinterested third party" as defined in the applicable Basic, Cropl or these Provisions. in addition to the definition of
“Disinterested third party", a person or business who does not routinely purchase production for resale or for feed will
not be considered a disinterested third party if the Rl\/s applied by the buyer are not reflective of the Rl\/s in the local
market

*** "Zero market value" occurs when no buyers in your local marketing area are willing to purchase the production and
fair consideration to deliver production to a market outside your local marketing area (distant market) is equal to or
greater than the producticn's value at the distant market.

**** "Sold” - Grain is considered sold on the date that final settlement between the buyer and seller has occurred and title
of the grain has passed from the seller to the buyer.

_*****'Unsold” - Grain that does not meet the definition of “sold.”

 

Case 2:12-cV-O2756-.]TF-de Document 1-3 Filed 09/04/12 Page 11 of 19

en ' .1..#.".._#.,`,_. . , ____ ______

Page|D 25

-L - . _-- -_ . ._ ..._....

 

 

     

year: 2011 commodity:corn(oo41)_ 0 m t 7 7 " '
Date: 11/9/2010 Pian: Yieid Protection (01) County: Lauderdale (097)
Revenue Protection (02) `

Revenue Prot with Harvest Price Exclusion (03)

 
     

__-QSL

Sales Closing Date Earliest Planting Date Final Pianting Date Acreage Reporting Date Premiurn Billing Date

3i'15i2011 3/21/2011 5/20/2011 7/15/2011 1011/2011
Type Practice
Grain 016 ' irrigated 002
Grain 016 Ncn-lrrigated 003 *3
Grain 016_ Organic(Certltled) lrr. 702 *2 *4
Grain 016 Organic(Transitional) lrrr 712 *2
Graln 016 Organic(Certified) Non-lrr. 713 *2 *3 *4
Graln 016 Organic(Transltional) Non-lrr. 714 *2 *3

 
   

"c‘eai" ` _
Contact your agent regarding possible premium discountsl options, and/or additional coverage that may be
available

Practice

*2 Acreage and production history from certified organic or transitional acreage will be contained in separate APH
databases. Each APH database will include production and acreage from any applicable buffer zone‘. _Any yearly
average APH yields, for the most recent four crop years only, from the transitional acreage database will be used in
place of Transltional Yields (T»yields) to establish the certified organic APl-l database A variable T-yield will be used
to complete the database1 if required .

*3 insurance shall not attach or be considered to have attached on any non-irrigated acreage from which, in the same
calendar year: 1) a perennia| hay crop was harvested; or 2) another crop has reached the headed or budded stage
(regardless of the percentage of plants that reached the headed or budded stage) or has been harvested

Pdce

*4 For acreage insured as certified _organlc, the Projected;Price and Harvest _Price will equal the respective Projected
Price and Harvest Price as defined within the Commodity Exchange Price Provisions (CEPP) multiplied by a factor
determined by Rlle and published on www.rma.usda.gov.

Premium

Any acreage in this county with a high risk area designation on the actuarial map will have a rate adjusted in
accordance with the high risk area and map area rates table.

Qua|ity
GENERAL STATEMENTS:

The following sections only apply to grain production for the insured crop.

The Quality Adjustment Factor (QAF) is 1.000 minus the sum of the applicable Discount Factors (DF) expressed below as
three-place decimals. The sum of all applicable DFs will be limited to 1.000. On|y the quality adjustment factors
contained herein are considered in determining production to count. The production to count remaining after any
reduction due to excessive moisture (in accordance with the applicable Crop Provisions), is multiplied by the QAF (not
less than zero) to determine net production to count.

Production qualifying for quality adjustment that does not contain substances or conditions that are injurious to human or
animal health, shall be adjusted under section A or B, but not both.

 

Case 2:12-cV-O2756-.]TF-de Document 1-3 Filed 09/04/12 Page 12 of 19 Page|D 26

   
 
     

Yar:r"" "

Date: 11/9/2010 Plan: Yieid Protection (01) County: Lauderdale (097)
Revenue Protection (02)
Revenue Prot with l-larvest Price Exclusion (03)

unless th_e AlF_’ grants_an extension of time to harvest as specified beiow, the samples of production used to determine
insurable quality deficiencies under sections A, B and 0 must be obtained in accordance with this Quality Adjustment
Statement, but not later than 60 days after the calendar date for the end of the insurance period (EOlP).

For any production qualifying under section B or 0 (except for section 03) that is sold*"** to other than a disinterested
third party**, or that is not sold 60 days after the calendar date for the EOlP, we will settle your claim using the applicable
DFs. lf the production is later sold, we will riot recalculate or adjust your claim for indemnityl

For production qualifying under section B or 0 (except for production qualifying under section 03) that is unsold 60 days
after the calendar date for the EO|P, an automatic 30 day extension will be allowed only for the purpose of submitting your
claim for indemnity, unless an extension of time to harvest has been granted under the general statements below.

The DF for production qualifying for quality adjustment containing substances or conditions that are injurious to human or
animal health will be determined in accordance with section C. For production qualifying for quality adjustment under:

a Section 01 or 02 and section A below, the DF will be determined by adding the applicable DFs from section A to the
applicable DFs from section 01 or CZ.-

b Section 01 or 02 and section B belcw, the DF will be determined by adding the applicable DFs from section l3 to the
applicable DFs from section 01 or 02. -

c Section 03, the DF will be determined under section 03 on!y. No additional DFs from section A or section B will be
included '

1 OPTION TO DELAY CLAlll/l SE`|'l`LEl‘leNTi

a On the date of final inspection for the unit, if any of your unsold***** production qualifies for quality adjustment
under sections B and/or 0 1 or 2 below, your claim will be settled using the applicable DF’s for unsold production
unless you elect in writing to delay settlement of your claim for up to 60 days after the calendar date for the EOlP.

b lf you sell the production to a disinterested third party during this delay, your claim will be settled using the
Reduction |n Va|ue (R|V) as outlined below, unless the production qualifies under section 0 (except for production
containing Vomitoxin only) and has been in on-farm storage

c At anytime during this delay in settlement1 you may request in writing to settle your claim for any unsold
production using the applicable DFs.

d For any production sold**** to other than a disinterested third party‘*"1 or that is not sold 60 days after the calendar
date for the EOlP, we will settle your claim using the applicable DFs.

e |f the production is later soldl we will not recalculate or adjust your claim for indemnity

f if the time to harvest has been extended as stated below, this option will not apply beyond 60 days after the
calendar date for the EO]P.

g This option will not apply to any production qualifying under section 0 3.

2 ADDIT|ONAL EXTENS!ON OF TlNlE TO SUBMlT A CLA[iVl

Regardless of any extension of time to submit a claim provided in this quality adjustment SPO| statement,'you also have
the right to request an additional extension of time to submit a claim for indemnity in accordance with section 14 of the
Basic Provisions.

3 EXTENSlON OF TlNlE TO HARVEST

tfwe determine you are prevented from harvesting by the calendar date for the EO|P due to an insurable cause of l
damage that occurred during the insurance period and we allow an extension of time to harvest, the time to determine
insurable quality deficiencies will also be extended lf you harvest the crop prior to 60 days after the calendar date for the
EO!P, your claim will be settled in accordance with sections A, B, or 0 as applicable unless you elected to delay '
settlement of your claiml in which case, refer to 1 above |f you were unable to harvest your crop until AFTER 60 days

2

 

Case 2:12-cV-O2756-.]TF-de Document 1-3 Filed 09/04/12 Page 13 of 19 Page|D 27

        

f

Year'. 2011 Commodity:Corn(0041) nn n in Slale?T€fmeSSee (47)

Date: 1119/2010 Plan: Yieid Protection (01) County: Lauderdale (097)
Revenue Prctection (02)
Revenue Prot with l~larvest Price Exclusion (03)

after the calendar date for the EO|P, and your production qualifies for quality adjustment under sections Bi, Cla or 02ai,
you will be allowed 30 days after harvest to market your grain and receive an R|V unless the production qualines solely
under section A, in which case, only the DF(s) in section A will be used. lf the production is not sold within this 30 day
period the claim will be settled using the applicable pre-established DF. You must complete and submit a claim for
indemnity not later than the earlier of 60 days after harvest, or 60 days after the date we determine the crop could have
been harvested and you did not harvest lf your production qualihes under section 03, your claim will be settled as
specihed in section 03. - '

4 DELAY lN MEASUREMENT OF FARM STORED PRODUCTION

lf you elect to delay measurement of farm stored production as provided in the Basic Provisions, all samples of farm
stored production used to determine insurable quality dehciencies must be obtained in accordance with this Cluality
Adjustment Statement, but not later than 60 days after the calendar date for the EO|P , otherwise such production will not
be adjusted for quality All samples obtained to test for substances or conditions injurious to human or animal health
(other than vomitoxin) must be taken prior to production entering storage For Vomitoxin only, samples for testing may be
obtained from storage Your claim will be settled using the applicable DFs for the quality dehciencies determined by us
not later than 60 days after the calendar date for the EOlP. The gross amount of production will be determined by us not
later than 180 days after the EOlP. Your claim will be completed and submitted no later than 30 days after the 180th day.

5 FA|R CONS|DERAT|ON TO DELlVER TO DlSTANT MARKETS

Except as allowed in paragraph 7 6 b below, fair consideration to deliver sold production to a distant market is allowed
only when there are no buyers in your local market area willing to purchase the production and is only applicable for the
types and levels of damage included in sections Bl, 01a, 02ai, C3ai and 03bi below. The amount of fair consideration
allowed will only be an amount that is reasonablel usual, and customaryl Fair consideration is not allowed for production
that is unso|d, sold to other than a disinterested third party, fed, utilized in any other manner, orwhen a pre“established
DF is applicable

6 ZERO I\!TARKET VALUE

lf on the date of final inspection for the unitl any production which due to insurable causes is determined to have zero
market value‘*""l such production will not be considered production to count if the production is destroyed in a manner
acceptable to us (see section D). Fair consideration may be used in the determination of zero market value, except for
production fed or used in any other manner. -

7 REDUCT|ON |N VALUE (RIV):

No RlV will be made or accepted by us if it is due to:

Processing; or
Any other costs associated with normal harvesting handling, and marketing of your production

1 Nloisture content;

2 Damage due to uninsured causes;
3 Drylng;

4 tiandling;

5

6

a File cannot be used in combination with chart DFs.

b lt a lower RlV is available for production sold at a distant market, the Rl\/ at the distant market may be
increased by the fair consideration to deliver the production to the distant market, provided the resulting R|V

does not exceed the RlV in your local marketing area.

c |f the RlV can be decreased by conditioning the production, the RlV may be increased by the cost of
conditioning provided such cost is' reasonable usua|, and customary and the resulting RlV does not exceed
the RlV before conditioning

 

Case 2:12-cV-O2756-.]TF-de Document 1-3 Filed 09/04/12 Page 14 of 19 Page|D 28

    

 
   
   

'~=a-.- l § -1_ `_ m ¢ 1 -~-¢-g»-};
Year: 2011 Commodity; Corn (0041} State: Tennessee (47)
Date: 1119/2010 Plan: Yieid Protectlon (01) County: Lauderdale (097)

Revenue Protection (02)
Revenue Prot with Harvest Price Exclusion (03)

d T_he RlV and local market price* are determined on the date such quality adjusted production ls sold to a
disinterested third party.

SECTlON A - D|SCOUNT FACTOR CHARTS 7

On the date of nnal inspection for the unit, the discount factors are determined using the following charts. |f the DF for any

one_qua_;l_ifying level of deficiency is not shown on the charts in this section, then determine all DFs using section B or 0 as
app ica e.

oRADE DiscouNT:
Discounts for grade as follows:

Grade §DF ,
_U_-§-___S_ani_nls_<aeia_ ii_-_D_?'i' _

 

TEST WEIGHT DISCOUNT:
Discounts for low test weight as follows:

Ts§tW's_isl`i-f_'§<$llii<is _ D_F_

 

 

 

 

 

49 allisoon 'Non`é'_"

43_*}_8'_99_ _ __O_tQ€ii m """ w
iri-vires ` ' `o_osz""""" _
15_‘4_6_-_99'________________ _ 9195? il _

4545.'99 `0.0`72` """ `""
454:419_?____ 0032 _
43343.99 ' " ' boss " _____
€_2_;4_2_;99_ _ ._______-Q~J_O_§_ ___________
`41-41.9`9` " 0_113

- _‘iP_fi_Q_-§?_______ __ _ 0124____ _
Below 40 See section B

DAMAGE DtSCOUNT:`
Discounts for excessive kernel damage (exc|uding heat damage) as follows:

 

 

 

 

 

 

 

 

 

_"`|j`a?n*age`%m`_m"" DF Damag_e_% » DF _-__ D`amage % mlill=______
ioandbeiow irene _ ram-19 ___ 0.164 __2_?.01-23______ 0.303 ___
:T_i_-_ti:__`fl"f_fii§§iil_l" 19-01~20___ 2' 0.179__ 28-01-2§__ san
1101-12 ' 0-071 2001-21 __9-1_9_5___ ________§_?_-_Qi_'$_@_________HQ_-§‘i_d__
1_2.01-13"7" o.osi “`§ijti'i`-"zz ` '- _ _c;zio '__________s_i_)_o_i_¢si_______Hio.;s¢i_s________
1561-14 _0-092_ __ _2_2-01'23 9;§?§_6____- ___C’:i_-_‘_J_i;?’_?-?_________O_-3£5_j
"714_01?1*5*":_ "O“-'i`iii`""" `___`2_3`-1>:1§24__§‘_"1 _'_Q,zzu_____ 322133 _Qa@a___
' is.ci-is extra 24.01~25_____'___ 0.257 __'________ss_oi-s¢t _ _______o_ss_s_______
is.ci-ir _ o.is's_ _ 2s__0_i:_2_s________g:_zj_2 3401-ss _ 0.411

 

'_"_T:I’T'E__ 0148 n rinZB¢.l)l-Zr?' l 0__238__~_"*` Above 35 m See Section l§m

SAMPLE GRADE DlSCOlJNTS:
Discounts for sample grade factors as follows:

Sour Odor___ 0.052

'coi=o 0.052 _

SEOTION B ~ DEF|C|ENCY NOT_ |N DlSCOUNT FACTOR CHARTS

4

 

Case 2:12-cV-O2756-.]TF-de Document 1-3 Filed 09/04/12 Page 15 of 19 Page|D 29

         

Yea“ 2011 _ Commodity: Corn (0041) ' " " ' State_ Te_c“_"nsee (4*“‘ - -'
Date: 11/9!2010 Plan: Yieid Protection (01) County: Lauderdale (097)

Revenue Protectlon (02)
Revenue Prot with Harvest Price Exclusion (03)

 

 

DF_s included in section A are not used if production meets requirements under this section. For production that has a test
weight below 40 pounds per bushell and/or kernel damage above 35 percentl on the date of final inspection adjust
production in the following manner:

t |f sold to a disinterested third party prior to 60 days after the calendar date for the EOlP, the DF will be the sum of all
Rle applied by the buyer (provided the Rle are reasonable usual, and customary) due to all insurable quality
deficiencies and that value divided by the local market price Production receiving an RlV for sprout damage will not
also receive an RlV for falling numbers

2 For unsold production or production sold tolother than a disinterested third party prior to 60 days after the calendar
date for the EO|P, the Dl-° will be _500 (un|e`ss you elect to delay settlement as specified in the General Statements
above). '

3 lf unsold 60 days after the calendar date for the EOlP, fedl utilized in any other manner or is sold to other than a
disinterested third party the DF will be .500.

SECTION C - SUBSTANCES OR CONDiT|ONS Tl~iAT ARE |NJUR|OUS TO HUMAN OR AN|MAL HEALTH

The sum of all DFs for production containing substances or conditions that are injurious to human or animal health is
allowed in addition to applicable DFs from section A or 13 above except as shown in 03 _below.

Any potential loss due to substances or conditions identified by the Food and Drug Administration, other public health
organizations of the Unlted States or a public health agency of the applicable State in which the insured crop is grown, at
a level determined as injurious to human or animal health, will be covered only if the appropriate samples of the
production were obtained by our adjuster (or a trained disinterested third party approved by us), and the analysis was
performed by an approved laboratory using quantitative tests

For production that contains substances or conditions determined to be injurious to human or animal health, adjustments
will be made for levels of substances or conditions in excess of the amount allowed by the lower of the following:

a The action or advisory level of the Food and Drug Administration; or
b Another public health organization of the Unlted States; or
c A public health agency of the applicable State in which the insured crop is grown.

For production that will be stored on the farm, or in commercial storage (excspt for production containing Vomitoxin), the
appropriate samples must be obtained prior to the production entering storagel otherwise such production will not be
adjusted for such quality deficiencies listed in section 0. For Vomitoxin oniy, samples for testing may be obtained from
storage

1 For production containing Vomitoxin only (no other section 0 deficiencies are present) qualifying under section 0 and
that has a level of 10.0 ppm or less adjust the production in the following manner. lf on the date of final adjustment
for the unit, the production ls:

a Sold to a disinterested third party prior to 60 days after the calendar date for the EOlP, the DF will be the sum of
all Rle applied by the buyer (provided the Rle are reasonable usual, and customary) due to all insurable
quality deficiencies and that value divided by the local market price.

b For unsold production or production sold to other than a disinterested third party prior to 60 days after the
calendar date for the EOtP, the DF will be the applicable DFs shown in the chart below _(unless y_ou elect to delay
settlement as specified in the General Statements above) added to the applicable DFs included in section A or B2

above

c Unsotd 60 days after the calendar date for the EOlP, fed, utilized in any other manner, or is sold to oth_er than a
disinterested third party, the DF will be the applicable DFs shown in the chart below added to the applicable DFs
included in section A or 63 above

DFs for Vomitoxln:

 

Case 2:12-cv-02756-.]TF-dl<v Document 1-3l Filed 09/04/12 Page 16 of 19 Page|D 30

 
      

Year: 2011 commodity corn (0041) ' n Msaii.rennessee(zir)

Date: 1t/9/2010 Plan’. Yieid Protection (Oi) County: Lauderdale (097)
Revenue Protection (02)
Revenue Prot with Harvest Price Exclusion (03)

 

 

 

 

 

::"`vo`m`i`tcxin Rzing`éh ` DF
v_ 0.1 ~ 5.0 ppm . .000
5.1-10.0 ppm .225 ~"'
10.1 ppm & above See 03 below

 

2 For production containing substances cr conditions, other than Vomitoxin, that qualities under section C with an
Afl_atcxin level of 300 ppb or less, or other substances or conditions with a level less than the maximum allowable,
adjust the production in the following manner. 7

a lion or before the date of final adjustment for the unit, the production was transported directly from the field to the
bhuyer, or |t!ransported directly from the field and put into commercial storage without going into on farm storage,
t e DF wl be:

i For production sold to a disinterested third party prior to 60 days after the calendar date for the EOi_P, the sum
of all Rle applied by the buyer (provided the R|Vs are reasonabte, usual, and customary) due to all insurable
quality deticiencies, and that value divided by the local market price.

ii For unsold production containing Atlatoxin prior to 60 days alter the calendar date for the EO|P, the applicable
DFs shown in the chart below in section C2b (uniess you elect to delay settlement as specihed in the General
Statements above), added to the applicable DFs included in section A or B2 above.

iii For unsold production containing Af|ato_xin 60 days after the calendar date for the EOIP, the applicable DFs
shown in the chart below in section C2b, added to the applicable DFs included in section A or B3 above.

iv For unsold production containing all other mycotoxins or substances or conditions prior to 60 days after the
calendar date for the EOlP (uniess you elect to delay settlement as specified in the General Statements
above), the DFs will be .600, except as stated in section 03 below. This DF will be added to the applicable
DFs included in section A or B2 above.

v For unsold production containing all other mycotoxins or substances or conditions 60_days after the calendar
date for the EOIP, the DFs will be .500l except as stated in section 03 below. This DF will be added to the
applicable DFs included in section A or 63 above. 7

b if on the date of final adjustment for the unit, the unsold production is in on-farm storage, is in commercial storage
but was not transported directly from the fieldl was fed or utilized in any other manner, was in on-farm storage and
has been so|d, or was sold to other than a disinterested third party, we will use the applicable DFs shown in the
chart below, except as stated in section 03 below. This chart DF will be added to the applicable DFs included in
section A or B2 above. ‘

 

 

 

DFs for Af|atoxin:
Aiiaiéiri`h`na`ng*é ' `_, of __
tri-zinn _ , jO_OO..
20.1 - 5`0.0 `i)`pb` .ioo
_l §9-_1:_100:_0_9,91.> _ __ l,~?.QOl,l.___ __
' `100.'1 - 200.0 ppb _ _ k1300
200.1 - 300.0 ppb § .4_00 __
300.1 ppb & above See 03 below

3 For production that has an Aflatoxin level in excess of 300 ppb, a Vomitoxin level in excess of 10 ppm, or any other
substances or conditions qualifying under section C having a level exceeding the maximum amount allowed1 a claim
will not be completed until all such production is sold, fedl utilized in any other manner, or destroyed. An automatic 30
day extension will be allowed for you to submit your claim for indemnity, following the date we determine the
production was so|d, fed, utilized in any other manner, or destroyed On the date of final adjustment for the unit, the
following will apply (if such production is Zero lvlarl<et Value, see section D):

a For production containing Vomitoxin only (no other section C deficiencies are present), the DF will be:
i The R|V applied by the buyer (provided the Rle are reasonablel usua|. and customary) due to all insurable
6

 

  

 
   

Year': 2011 Commodity: Corn (0041) ' - 7 in l _ - State:`ienesse(
Date: 1119/2010 Plan: Yieid Protection (01) County: Lauderdale (097)

Revenue Protection (02)
Revenue Prot with Harvest Price Exc|usion (03}

§ihua(;lty dte/hciencies, and that value divided by the local market price for production sold to a disinterested
ir pa ; or

ii .500 for productionl fed, utilized in any other manner, or sold to otherthan a disinterested third party. No
other DF from section A or B will be included

b For production containing Aflatoxin or'any other substances or conditions (except for production containing
Vomitoxin as detailed in section 03a above), the DF will be:

i The Rl\/ applied by the buyer (provided the R|Vs are reasonablel usuall and customary) due to all insurable
quality deficienciesl and that value divided by the local market price for production sold to a disinterested third
party. Such production must have`_been transported directly from the field to the buyer‘ or transported directly
from the field and put into commercial storage prior to being soid.

il .500 for production that was in on-farm storage and was later soldl was in on-farm storage and was
transported to commercial storage and later sold1 was fed, was utilized in any other manner, or was sold to
‘ _ other than a disinterested third-party. -\No other DF from section A or B will be included.

c if production qualifying under section 03 is destroyed in a manner acceptable to us. the DF will be 1.000. For
production destroyed in a manner unacceptable to us, such production will not be adjusted for any quality
deficiencies listed in section C.

SECTION D - ZERO MARKET VALUE PRODUCT|ON

For production listed in sections A, B, or C that we determine has lzero market value due to insured quality deficiencies:

'l
2

The DF will be 1.000 if such production is destroyed in a manner acceptable to us_

if you do not destroy (or refuse to destroy) production in a manner acceptable to us, such production to count is no
longer considered to be zero market value and will be adjusted as follows:

a For production in section A - the pre-established DFs.
b For production in section B - .500.

c For production in section 01 or 02, such production will not be adjusted for any quality deficiencies listed in
section 0. '

|fyou destroy production qualifying under section 03 in a manner unacceptable to us, such production will not be
adjusted for any quality deficiencies listed in section 0. if you do not destroy (or refuse to destroy) such production, a
claim will not be completed until such production is sold, fedl utilized in any other manner, or destroyed An automatic
extension of time will be allowed for you to submit your claim for indemnity.

“Local Nlarket Price" as defined in the applicable Basic, Crop1 or these Provisions.

“Disinterested third party" as defined in the applicable Basic, 0ropl or these Provisions. in addition to the definition of
“Disinterested third party"l a person or business who does not routinely purchase production for resale or for feed Will
not be considered a disinterested third party if the Rle applied by the buyer are not reflective of the Rle.in the local
market

“Zero market value" occurs when no buyers in your local marketing area are willing to purchase the production and
fair consideration to deliver production to a market outside your local marketing area (distant market) is equal to or
greater than the production’s value at the distant market

**** "Sold" - Graln is considered sold on the date that final settlement between the buyer and seller has occurred and title

of the grain has passed from the seller to the buyer.

*****‘Unsold" ~ Graln that does not meet the definition of “sold."

 

Case 2:12-cv-O2756-.]TF-dl<v Document 1-3 Filed 09/04/12 Page 18 of 19 Page|D 32

 
      

     
   

__ l¢¢z?w:.»

11

Commodity: 00 on (0021) State Tnsee (47) n

   

Year. 20

Date: 11/5/2010 Plan: Yieid Protection (01) County: Lauderdale (097)
Revenue Protection (02)
Revenue Prot with Harvest Price Excluslon (03)

  
   

 
 

Sa|es Closing Date Final Planting Date

Acreage Reporting Date Premium Biliing'Date

3/15/2011 5/20/2011 7115/2011 ` _ 11/1/2011
Type Practice
No Type Specined 997 irrigated 002 *6
No Type S_pecified 997 Non-|rrigated 003
No Type Specified 997 _ Non-|rrigated Sl<ip Row 063
tile Type Specified 997 Organic(Certified) lrr. 702 *4 *5 *7
No Type Specified 997 Organic(Transitlonai) lrr. 712 *4 *5
No Type Specified 997 ' Organic(Certilied) Non-lrr. 713 *4 *7
No Type Specified 997 Organlc(Transitional) Non-lrr. 714 *4
No Type Specified 997 lion-irrigated Skip RoW(OC) 729 *4 *7
No Type Specilied 997 Non-lrrigated Sklp Row(OT) 730 *4

 
   

General

Optiona| unit division is NOT available by section or section equivalent Optional unit division is available based on
Farm Serlal Number (FSN) and any other method specified in the Basic Provisions or 0rop Provisions except
section or section equivalent To be eligible for the available methods of optional unit division, you must meet all
applicable requirements.

The conversion factor for cottonseed is 1.359

Contact your agent regarding possible premium discountsl options, andlor additional coverage that may be
available

Practice

*4 Acreage and production history from certined organic or transitional acreage will be contained in separate APl-l
databases. Each APH database will include production and acreage from any applicable butler zone. Any yearly
average APH yields, for the most recent four crop years only, from the transitional acreage database will be used in
place of Transitional Yietds (T»yields) to establish the certified organic APH database. A variable T-yield will be used
to complete the database, if required

*5 The irrigated practice is applicable to furrow or sprinkler irrigation methods oniy. Acreage that is irrigated by any
other method must be reported and insured as non-irrigated practice or non»irrigated skip row practice unless a
written agreement to insure the acreage on an irrigated basis is requested and approved

Date

in lieu of the definition of late planting period in section 1 of the Basic Provisions, the late planting period begins the
day after the final planting date for the insured crop and ends 15 days after the final planting date.

Price

*7 For acreage insured as certified organic, the Projected Price will be equal to a price determined by Rile; the_Ha`rvest
Price will be equal to the Projected Price; and the Volatility Factor will be equal to zero (0). The Projected Pricel
l~laivest Price and Volatility Factor will be published on www.rma.usda.gov.-

 

Case 2:12-c\/- 02756- .]TF- dl<v Document 1- 3 Filed 09/04/12 Page 19 of 19 Page|D 33

 

Year: 2011 commodity cotton (0021) ' f stare Tennessee gin
Date: 11/5!2010 Plan: Yieid Protectlon (01) County: Lauderdale (097)
Revenue Protection (02) .
Revenue Prot with l-larvest Price Exciusion (03)

For acreage insured under the Cottonseed Endorsement, the Projected Price for cottonseed will be equal to a price
determined by the product developers; the l-larvest Price will be equal to the Projected Price; and the Vo|alility Factor

will be equal to zero (0). The Projected Price, l-iarvest Price and Volatl|lty Factor will be published on
Www.rma.usda.gov.

Premium

Any acreage in this county with a high risk area designation on the actuarial map will have a rate adjusted in
accordance with the high risk area and map area rates table.

 

